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 9
                            IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12    The Church of the Celestial Heart, a
      California Religious Corporation, et al.,            Case No. 23-cv-545-SAB
13
14                            Plaintiffs,                  DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                                                           MOTION FOR ANCILLARY JURISDICTION
15              vs.

16    Pamela J. Bondi, in her official capacity, et al.,

17                            Defendants.
18
             The facts in this case are crystal clear and undisputed. On May 5, 2025, the parties executed
19
     an out-of-court settlement agreement that resolves all outstanding disputes in this case. Pursuant
20
     to the terms of that agreement, Defendants made payment relating to Plaintiffs’ attorneys’ fees and
21
     costs on May 28, 2025, and as a result, Plaintiffs are now required to dismiss this case within 15
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     days of receipt of such payment. Concurrently, and in light of the parties’ notice of settlement,
23
     this Court ordered the parties to “file dispositional documents no later than June 10, 2025.” Order
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     Requiring Parties to File Dispositional Documents at 1 (citing L.R. 160(b)), ECF No. 66; see also
25
     id. (stating that the parties “inform[ed] the Court that this matter has been resolved and that
26
     dispositional documents will be filed”).
27
             Plaintiffs do not dispute those facts. Yet they have not fulfilled their obligation to dismiss
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 1   this case in accordance with the text of the agreement and the Court’s Order. Instead, Plaintiffs
 2   have unilaterally asked this Court, in its discretion, to “retain jurisdiction to enforce the settlement
 3   agreement”—despite Defendants’ longstanding objection. See Pls.’ Expedited Mot. for Ancillary
 4   Jurisdiction (“Pls.’ Mot.”) at 3, ECF No. 67; Pls.’ Notice of Am. Mot. and Mot. for Ancillary
 5   Jurisdiction (“Pls.’ Am. Mot.”) at 3, ECF No. 69. 1 Indeed, contrary to Plaintiffs’ wishes, the
 6   agreement itself makes clear that there was never a mutual intent to convert the text of the
 7   settlement agreement into a separately enforceable judicial order. That fact is not news to
 8   Plaintiffs: the government has declined—and the District of Arizona likewise entirely rejected—
 9   an identical request for ancillary jurisdiction in a similar Religious Freedom Restoration Act
10   (“RFRA”) case with nearly identical settlement terms with the same Plaintiffs’ counsel just last
11   September. See Defs.’ Mem. in Opp’n to Pls.’ Mot. to Incorporate Settlement Agreement, ECF
12   No. 73, Church of the Eagle and the Condor v. Garland (“Condor”), No. 22-cv-01004-PHX-SRB
13   (D. Ariz. Sept. 9, 2024); Condor Order, ECF No. 75, No. 22-cv-01004-PHX-SRB (D. Ariz. Jan.
14   24, 2025). In other words, there is no legal or factual basis upon which this Court could grant such
15   extraordinary relief over Defendants’ objection.
16          Accordingly, the Court should reject Plaintiffs’ baseless invitation to rewrite the final
17   agreement and dismiss this case with prejudice.2
18                                              *       *       *
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     1
       On May 21, 2025, Plaintiffs filed the instant motion for ancillary jurisdiction, which concurrently
22   sought an expedited briefing schedule. Pls.’ Mot. at 1–3. That same day, the Court denied without
     prejudice Plaintiffs’ “request to shorten time to hear the motion” but otherwise held that “[t]he
23   motion as currently filed shall be governed by the deadlines in Local Rule 230.” Order re Pls.’
     Procedurally Deficient Request to Shorten Time at 2, ECF No. 68. On May 23, 2025, Plaintiffs
24   filed an amended motion for ancillary jurisdiction that omits their prior request for expedited
     briefing but makes nearly identical arguments to their previously filed motion. See generally Pls.’
25   Am. Mot. Because both motions are substantially similar, Defendants’ arguments herein apply
     equally to both pending motions.
26   2
       Defendants respectfully submit that this motion may be decided on the papers and that no hearing
27   is necessary.
                                                        2
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 1          The only action that remains is for Plaintiffs to dismiss this action with prejudice. With
 2   fewer than 15 days to comply with that obligation, Plaintiffs seemingly argue, notwithstanding the
 3   text of the agreement and the parties’ stipulation of dismissal to the contrary, that Defendants have
 4   agreed to this Court’s ongoing enforcement of an out-of-court agreement between the parties. Pls.’
 5   Mot. at 2–3 (citing Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994)); Pls.’
 6   Am. Mot. at 2–3 (similar). Plaintiffs are wrong on both the facts and the law, and the relief they
 7   now seek is squarely contrary to, and in violation of, the parties’ binding agreement.
 8          A. To begin, the Supreme Court has held that when voluntary dismissal is made pursuant
 9   to Rule 41(a)(1)(ii), as it is here, see Ex. 1, Declaration of Sarah M. Suwanda (“Suwanda Decl.”)
10   ¶ 3, a court may “retain jurisdiction over the settlement contract” only “if the parties agree,”
11   Kokkonen, 511 U.S. at 381–82. Defendants, however, have not agreed to Plaintiffs’ request for
12   ancillary jurisdiction, and nothing in the text of the agreement supports Plaintiffs’ contention to
13   the contrary. See id. at 381 (“If the parties wish to provide for the court’s enforcement of a
14   dismissal-producing settlement agreement, they can seek to do so.”).
15          The Ninth Circuit “relies on basic principles of state contract law in interpreting a
16   settlement agreement.” Harps v. Cnty. of Los Angeles, 8 F. App’x 771, 772 (9th Cir. 2001). That
17   is, “[w]hen a contract is reduced to writing, the intention of the parties is to be ascertained from
18   the writing alone, if possible.” Int’l Bhd. of Teamsters v. NASA Servs., Inc., 957 F.3d 1038, 1042
19   (9th Cir. 2020). Here, the notion that the parties agreed to the Court’s discretionary incorporation
20   of the parties’ out-of-court agreement into an order is glaringly absent from the text. See generally
21   Pls.’ Ex. A, Settlement Agreement (“Agt.”), ECF No. 67-1. Nowhere does the text of the
22   agreement indicate that the parties agreed to petition the Court to incorporate the settlement terms
23   into an order, or otherwise independently act to enforce the agreement. Nor does it even
24   contemplate that the parties, let alone Defendants, agreed to any additional procedures that would
25   require the Court to craft an order that incorporates the parties’ settlement terms. Indeed, the text
26   of the agreement points to the opposite conclusion. It states that “[w]ithin fifteen (15) days of the
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                                                      3
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 1   receipt of the payment described in paragraph 89, Plaintiffs shall dismiss this case with prejudice
 2   pursuant to Fed. R. Civ. P. 41(a) by filing a Stipulation of Dismissal with Prejudice.” Agt. ¶ 95.
 3   That dismissal provision makes no mention of any additional orders from the Court, by way of
 4   “incorporation,” “ancillary jurisdiction,” or otherwise. Instead, the text is unequivocal that, upon
 5   resolution of payment, there is but one ministerial action that will occur with respect to this action:
 6   Plaintiffs must voluntarily dismiss this case with prejudice.
 7           Put simply, by the parties’ express agreement, there is no basis for this Court to assert
 8   ancillary jurisdiction. Defendants fulfilled their end of the bargain and made payment on May 28,
 9   2025. Plaintiffs, in turn, must comply with their contractual obligations and dismiss this case
10   promptly, in accordance with the text of the agreement (by June 16, 20253) and this Court’s Order
11   (by June 10, 2025 4). See also Pls.’ Mot. at 3 (conceding that “once Plaintiffs receive payment, as
12   per the terms of the Settlement Agreement, Plaintiffs must dismiss this case with prejudice within
13   fifteen (15) days”).
14           B. Plaintiffs nevertheless assert that paragraphs 87 and 92.c of the agreement allows the
15   Court, in its discretion, to assert ancillary jurisdiction for purposes of “enforc[ing] [the] settlement
16   agreement.” Pls.’ Mot. at 2; Pls.’ Am. Mot. at 2. That implied argument, however, runs contrary
17   to the very text of the agreement itself. Paragraph 92.c, for example, does not operate in isolation,
18   as Plaintiffs would like. Instead, the overarching paragraph, paragraph 92—itself “[s]ubject to
19   paragraph 25,” and which Plaintiffs conveniently ignore—provides that “the following dispute
20   resolution procedures” will govern any “disputes between the Parties concerning any alleged
21   breach of this Agreement.” Agt. ¶ 92. That is, the dispute-resolution process for actual allegations
22   3
       The United States Department of Treasury confirmed that payment, pursuant to the settlement
23   agreement, was issued to Plaintiff Celestial Heart on May 28, 2025. Suwanda Decl. ¶ 4. Although
     Plaintiffs’ counsel would not confirm the date on which payment was received, they nevertheless
24   confirmed receipt of payment as of June 1, 2025. Id. ¶ 5. Consequently, Plaintiffs must dismiss
     this case no later than June 16, 2025, i.e., within 15 days of receipt of payment. Agt. ¶ 95.
25   4
      Defendants maintain that Plaintiffs should file the parties’ stipulation of dismissal with prejudice
26   by the Court’s deadline of June 10, 2025, as no good cause supports an extension of that deadline
     for the reasons set forth herein.
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 1   of breach requires the parties to take the following steps: they must (1) make “good faith efforts to
 2   resolve informally any alleged breach of this Agreement,” id. ¶ 92.a, and (2) “submit[] to
 3   mediation before a mutually agreed-upon neutral mediator,” id. ¶ 92.b.            Only if those two
 4   prerequisites fail to resolve an actual dispute may either party “apply to the U.S. District Court for
 5   the Eastern District of California for relief.” Id. ¶ 92.c. In other words, paragraph 92.c does not
 6   provide for ancillary jurisdiction by this Court for purposes of preemptively enforcing the terms
 7   of the agreement, let alone Defendants’ memorialized assent to such discretionary jurisdiction. 5
 8   Rather, the plain text reading of paragraph 92 and its subparts makes clear that these provisions
 9   operate to eliminate any disputes regarding venue or jurisdiction should any future contract
10   performance disputes arise—i.e., after the parties have satisfied their obligations under paragraphs
11   92.a and 92.b. 6 That reading makes logical sense. Paragraphs 87 and 92 merely memorialize the
12   parties’ agreement that venue, for purposes of any separate and distinct contract-performance
13   disputes, may be appropriate in this District, even if Plaintiffs were to expand their operations
14   outside the Eastern District of California.      Likewise, those same paragraphs eliminate any
15   ambiguity as to whether jurisdiction over any new disputes arising from the agreement lies in
16   another judicial forum, assuming an appropriate basis for federal jurisdiction exists.
17          Put differently, the fact that the parties agreed to a designated forum for potential disputes
18   arising from future performance under the agreement does not mean that the parties agreed to the
19   highly irregular outcome of requiring this Court to incorporate the underlying agreement into a
20   judicial order. See Kokkonen, 511 U.S. at 381 (“The facts to be determined with regard to such
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     5
22    Plaintiffs’ motion effectively concedes this point, as they state that “[t]he parties have agreed that
     Plaintiffs”—not the parties—“may seek to request that this Court retain jurisdiction.” Pls.’ Mot.
23   at 2 (emphasis added); Pls.’ Am. Mot. at 2 (same).
     6
24     Plaintiffs’ reliance on paragraph 87 fails for the same reasons. That paragraph, entitled “Venue
     & Jurisdiction,” specifically contemplates venue and jurisdiction within the Eastern District of
25   California, only after the dispute-resolution procedures—informal resolution (paragraph 92.a) and
     mediation (paragraph 92.b)—have run their course. Agt. ¶ 87. See also id. (expressly
26   incorporating “Article IX of this Agreement,” i.e., paragraph 92 and its subparts). In other words,
27   the same plain text reading that governs paragraph 92 applies with equal force to paragraph 87.
                                                       5
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 1   alleged breaches of contract are quite separate from the facts to be determined in the principal suit,
 2   and automatic jurisdiction over such contracts is in no way essential to the conduct of federal-court
 3   business.”). Plaintiffs should not be able to contort these forward-looking jurisdictional provisions
 4   relating to potential breach as a means of ignoring the clear language of the agreement requiring
 5   disposition of the instant case. 7
 6           C. Indeed, counsel for Plaintiffs recently tried this exact gambit before, only to be squarely
 7   rejected by another federal district court. The same lawyers in this case negotiated a substantially
 8   similar settlement agreement with the government in a similar ayahuasca RFRA case—which
 9   contains the very same forward-looking jurisdiction and venue provisions at issue here. Compare
10   Condor Settlement Agreement (“Condor Agt.”) ¶ 91, ECF No. 51-2, No. 22-cv-01004-PHX-SRB
11   (D. Ariz. June 17, 2024) (setting forth a multi-step, dispute-resolution process for alleged breach
12   of contract), with Agt. ¶ 92 (same); compare Condor Agt. ¶ 86 (establishing venue and jurisdiction
13   with respect to new claims of breach of contract), with Agt. ¶ 87 (same). Those same lawyers
14   argued, just as they have done here, that the same jurisdictional provisions allow the reviewing
15   court to “incorporate the parties’ settlement agreement into an order and retain ancillary
16   jurisdiction to enforce the settlement agreement.”         Condor Order at 2, ECF No. 75, No.
17   22-cv-01004-PHX-SRB (D. Ariz. Jan. 24, 2025). The government then, as it does now, opposed
18   Plaintiffs’ strained reading of the agreement; and the Condor court agreed. In rejecting these same
19   arguments now repurposed before this Court, the Condor court explained that “[f]ederal courts
20   have no inherent power to enforce settlement agreements entered into by parties litigating before
21   them.” Id. (citations omitted). Nor do the parties have any power to “confer jurisdiction on the
22   district court by agreement or consent.” Id. (citations omitted). Consequently, the Condor court
23   denied the request for incorporation and dismissed the case with prejudice. Id. This Court should
24   reach that same conclusion here: it should reject Plaintiffs’ one-sided invitation to rewrite the terms
25
     7
26     Moreover, Plaintiffs cannot claim that Defendants implicitly agreed to ancillary-jurisdiction
     relief not contemplated by the agreement, as the parties included an integration clause precisely to
27   avoid post-hoc surprises and requests such as this one. See Agt. ¶ 94.
                                                        6
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 1   of the agreement and dismiss this case with prejudice.
 2           D. Finally, Plaintiffs concede that the Court’s exercise of ancillary jurisdiction is purely
 3   discretionary; yet they nonetheless (and summarily) invoke the rationale of the Ninth Circuit’s
 4   unpublished decision in Kokkenen to support their baseless reading of the agreement. Pls.’ Mot.
 5   at 2–3 (citing Kokkonen v. Guardian Life Ins. Co. of Am., 993 F.2d 883 (9th Cir. 1993), rev’d, 511
 6   U.S. 375 (1994)); Pls.’ Am. Mot. at 2–3. To be clear, the Supreme Court reversed and remanded
 7   the Ninth Circuit’s unpublished decision in Kokkonen, which erroneously affirmed the district
 8   court’s decision to enforce an out-of-court settlement agreement that resulted in dismissal of the
 9   underlying action pursuant to Rule 41(a)(1)(ii). 511 U.S. at 375. In so doing, the Supreme Court
10   clearly held that “[a] federal district court, possessing only that power authorized by Constitution
11   and statute, lacks jurisdiction over a claim for breach of a contract, part of the consideration for
12   which was dismissal of an earlier federal suit.” Id. See also id. at 380 (“No case of ours asserts,
13   nor do we think the concept of limited federal jurisdiction permits us to assert, ancillary jurisdiction
14   over any agreement that has as part of its consideration the dismissal of a case before a federal
15   court.”); id. at 378 (“Enforcement of the settlement agreement, . . . whether through award of
16   damages or decree of specific performance, is more than just a continuation or renewal of the
17   dismissed suit, and hence requires its own basis for jurisdiction.”).
18           Plaintiffs cannot ignore the Supreme Court’s central holding in Kokkonen. Nor can they
19   attempt to circumvent that holding by manufacturing Defendants’ assent to continuing jurisdiction
20   by this Court. That contortion of the facts is expressly belied by the agreement itself, see supra,
21   and Defendants’ longstanding objection to any stipulation of dismissal that requires Defendants to
22   consent to ancillary jurisdiction, see Suwanda Decl. ¶ 3.
23                                              *       *       *
24           Accordingly, for the foregoing reasons, Defendants respectfully request that the Court deny
25   Plaintiffs’ unilateral request for ancillary jurisdiction and dismiss this case with prejudice.
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     Dated: June 4, 2025                          Respectfully submitted,
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